
Turley, J.
delivered the opinion of the court.
William Graham was convicted of the offence of usury at the December term, 1843, of the Circuit Court for the county of Jefferson. The bill of indictment charges, that he “unlawfully did reserve, exact, receive and take from Josiah Denton a larger and greater sum than six per centum per annum, for the loan, use and forbearance of one hundred dollars, to wit, at the rate of twenty per centum per annum, for the loan, use and forbearance of one hundred dollars.” The proof on the trial showed, that part of the one hundred dollars loaned was silver and part U. S. Bank paper; for which reason defendant moved for a new trial, alledging that dollars, the word used in the indictment, means money; that U. S. Bank paper is not money, and that therefore the charge in the indictment is not sustained by the proof.
The motion for a new trial was overruled by the court, and we think correctly. The court at the present term determined, in the case of Crutchfield vs. Robbins, Tingley &amp; Co. that the word money is a generic term, and covers every thing used by common consent as a representation of property, and passing currently from hand to hand as money, whether it be coin or paper. This we consider as settling the question in controversy in the present case; for bank paper is money when passed and received as such; and moreover, the word dollars does not of necessity mean coin, for in common parlance there are paper dollars as well as silver dollars, and the word in that sense applies as well to the one as the other. United States Bank paper is payable in dollars, it passed as dollars, was lent and received in the present case as so many dollars, and the indictment, charging it as one hundred dollars, is supported by the proof that it was U. S. Bank paper for that amount.
Judgment affirmed.
